                            UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                  NO. 5:14-CR-240-BR


UNITED STATES OF AMERICA                       )
                                               )
                v.                             )     ORDER
                                               )
WILLIAM SCOTT DAVIS, JR.                       )
                                               )


       On even date herewith, the court held a hearing on defendant’s motion for new counsel,

which defendant, in open court, withdrew. During the hearing, the government moved to

continue the trial from 27 November 2017 to 11 December 2017, and the court allowed the

motion. Because counsel for the government and a victim have scheduling conflicts and

because defendant consented to the motion, the court finds that the ends of justice served by this

continuance outweigh the best interest of defendant and the public in a speedy trial.

Accordingly, any delay occasioned by this continuance is excluded from speedy trial time

calculation. 18 U.S.C. § 3161(h)(7)(A).

       This 11 October 2017.




                                      __________________________________
                                                  W. Earl Britt
                                                  Senior U.S. District Judge




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